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                         Chapter 7 Trustee
                       7

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                       9                                        UNITED STATES BANKRUPTCY COURT

                     10                      CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

                     11

                     12 In re                                                               Case No. 8:23-bk-10094-SC

                     13 DAVID ALLEN WILSON                                                  Chapter 7
                        aka David Alan Wilson
                     14 dba David Wilson Consultant,                                        ORDER APPROVING SECOND
                                                                                            STIPULATION TO EXTEND THE
                     15                          Debtor.                                    DEADLINE FOR THE CHAPTER 7
                                                                                            TRUSTEE AND OFFICE OF THE
                     16                                                                     UNITED STATES TRUSTEE TO OBJECT
                                                                                            TO DEBTOR’S DISCHARGE
                     17
                                                                                            [No Hearing Required]
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                       1              The Court having read and reviewed the Second Stipulation to Extend the Deadline for the

                       2 Chapter 7 Trustee and Office of the United States Trustee to Object to Debtor’s Discharge

                       3 (“Stipulation”) filed on June 29, 2023 as docket number 63, finding no objection thereto and good

                       4 cause having been shown,

                       5              IT IS ORDERED that the Stipulation is approved and the deadline for the Chapter 7 Trustee

                       6 and/or the Office of the United States Trustee to file a timely complaint under 11 U.S.C. Section

                       7 727 is extended from June 30, 2023 up to and including August 31, 2023.

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                            Date: June 29, 2023
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